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                        9   Attorneys for Defendant
                            KEVAN SCHWITZER
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                       11
                                                   UNITED STATES DISTRICT COURT
                       12
                                                 CENTRAL DISTRICT OF CALIFORNIA
                       13
                                                            (SOUTHERN DIVISION)
                       14

                       15   JOHN ROE 1, an individual; JANE             Case No. 8:22-cv-00983-DOC-DFM
                            ROE 1, an individual; JANE ROE 2 an
                       16   individual; JANE ROE 3, an individual,      STIPULATION OF VOLUNTARY
                            JOHN ROE 2, on behalf of themselves         DISMISSAL WITH PREJUDICE
                       17   and all others similarly situated,          OF KEVAN SCHWITZER
                       18                     Plaintiff,
                                                                        Judge:     Hon. David O. Carter
                       19           v.                                  Courtroom: 10A
                       20   THE STATE BAR OF CALIFORNIA;
                            TYLER TECHNOLOGIES, INC.;                   Complaint Served: March 25, 2022
                       21   RICK RANKIN; and DOES 4 through             Settlement Date: May 2, 2022
                            10, inclusive,                              Request for Dismissal Filed: May 8,
                       22                                               2022
                                              Defendants.               Notice of Removal Filed: May 13,
                       23                                               2022
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FAEGRE DRINKER BIDDLE &
      REATH LLP
    ATTORNEYS AT LAW
       NEW YORK                     STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE OF KEVAN SCHWITZER
                            US.350157312.01
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                        1           Pursuant to Civil Local Rule 7-1, Defendant Kevin Schwitzer (“Schwitzer”)
                        2   and Plaintiffs John Roe 1, Jane Roe 1, Jane Roe 2, Jane Roe 3, and John Roe 2, all
                        3   individuals, on behalf of themselves and all others similarly situated (“Plaintiffs,”
                        4   and collectively with Schwitzer, the “Parties”), by and through their respective
                        5   counsel, hereby jointly stipulate and agree as follows:
                        6           WHEREAS, Plaintiffs filed a complaint (the “Complaint”) on March 18,
                        7   2022, styled as a class action, in the Superior Court of California of the County of
                        8   Orange, and named as defendants, the State Bar, judyrecords.com, and Employee
                        9   Doe, and Does 1 through 10 (collectively the “Defendants”);
                       10           WHEREAS, Plaintiffs amended the Complaint on March 25, 2022, to,
                       11   among other things, substitute the named defendant, judyrecords.com, with the true
                       12   name of the party, Kevan Schwitzer;
                       13           WHEREAS, Plaintiffs amended the Complaint on April 13, 2022, styled as
                       14   the First Amended Class Action Complaint (“FAC”), to, among other things,
                       15   amend the claims and allegations toward Schwitzer and the other Defendants;
                       16           WHEREAS, the Parties to this stipulation engaged in settlement discussions
                       17   and reached a Settlement Agreement on May 2, 2022, that required the Plaintiffs to
                       18   voluntarily dismiss Schwitzer from this case;
                       19           WHEREAS, the Plaintiffs filed a Request for Dismissal of Schwitzer with
                       20   Prejudice (“Dismissal Request”), pursuant to Cal. R. 3.770, in the Superior Court of
                       21   California of the County of Orange on May 8, 2022, and supplemented that filing
                       22   on May 9, 2022, with a copy of the Settlement Agreement filed conditionally under
                       23   seal;
                       24           WHEREAS, the other Defendants removed this action to this Court on May
                       25   13, 2022, prior to the Superior Court of California of the County of Orange ruling
                       26   on the Plaintiffs’ Dismissal Request;
                       27           WHEREAS, the removal of the action to this Court removed the Dismissal
                       28   Request from the Superior Court of California of the County of Orange’s
FAEGRE DRINKER BIDDLE &
      REATH LLP                                                        2
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                            US.350157312.01
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                        1   jurisdiction;
                        2         WHEREAS, a copy of the filings in the Superior Court of California of the
                        3   County of Orange have been attached to this Stipulation, including a copy of the
                        4   Settlement Agreement between the Parties filed under seal;
                        5         NOW THEREFORE, the Parties stipulate and agree that:
                        6         1.        The Dismissal Request has been fully briefed and is ready to be ruled
                        7   on;
                        8         2.        This Court has jurisdiction to rule on the pending Dismissal Request in
                        9   light of the Removal filed by the other Defendants on May 13, 2022;
                       10         3.        The Settlement Agreement fully complies with Cal. R. 3.770 and
                       11   F.R.C.P. 23(e) and the benefits provided by the Settlement Agreement do not
                       12   prejudice any putative class member.
                       13         IT IS SO STIPULATED.
                       14   Dated: May 18, 2022                      Respectfully submitted,
                       15                                            FAEGRE DRINKER BIDDLE & REATH
                                                                     LLP
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                       17                                            By:          /s/ David A. Belcher
                                                                           Peter W. Baldwin
                       18                                                  David A. Belcher
                       19                                            Attorneys for Defendant
                                                                     KEVAN SCHWITZER
                       20

                       21
                            Dated: May 18, 2022                      LAW OFFICES OF LENORE ALBERT
                       22

                       23                                            By:          /s/ Lenore L. Albert
                                                                           Lenore L. Albert
                       24
                                                                     Attorneys for Plaintiffs
                       25                                            JOHN ROE 1, an individual; JANE ROE 1,
                                                                     an individual; JANE ROE 2, an individual;
                       26                                            JANE ROE 3, an individual, JOHN ROE 2,
                                                                     on behalf of themselves and all others
                       27                                            similarly situated
                       28
FAEGRE DRINKER BIDDLE &
      REATH LLP                                                         3
    ATTORNEYS AT LAW
       NEW YORK                    STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE OF KEVAN SCHWITZER
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                        1                            SIGNATURE CERTIFICATION
                        2         Pursuant to United States District Court for the Central District of California
                        3   Local Rule 5-4.3.4(a)(2)(i), I hereby certify that all other signatories listed, and on
                        4   whose behalf this stipulation is submitted, concur in this stipulation’s content and
                        5   have authorized this stipulation.
                        6

                        7   Dated: May 18, 2022                     Respectfully submitted,
                        8                                           FAEGRE DRINKER BIDDLE & REATH
                                                                    LLP
                        9

                       10                                           By:          /s/ David A. Belcher
                                                                          Peter W. Baldwin
                       11                                                 David A. Belcher
                       12                                           Attorneys for Defendant
                                                                    KEVAN SCHWITZER
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FAEGRE DRINKER BIDDLE &
      REATH LLP                                                         4
    ATTORNEYS AT LAW
       NEW YORK                    STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE OF KEVAN SCHWITZER
                     Case 8:22-cv-00983-DFM Document 14 Filed 05/18/22 Page 5 of 6 Page ID #:106



                      1                               CERTIFICATE OF SERVICE
                      2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                      3          I am employed in the County of Los Angeles, State of California. I am
                          over the age of 18 and not a party to the within action. My business address is
                      4   Faegre Drinker Biddle & Reath LLP, 1800 Century Park East, Suite 1500, Los
                          Angeles, California 90067.
                      5
                              On May 18, 2022, I served the foregoing document described as:
                      6   STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE OF
                          KEVAN SCHWITZER on the interested parties in this action as follows:
                      7

                      8                            SEE ATTACHED SERVICE LIST
                      9
                            X      By ELECTRONIC FILING (I electronically filed the foregoing with the
                     10            Clerk of the Court using the CM/ECF system which will send notification
                                   of such filing to counsel denoted on the attached Service List.)
                     11
                                   By PERSONAL SERVICE
                     12
                                          by personally delivering such envelope to the addressee.
                     13                   by causing such envelope to be delivered by messenger to the
                                          addressee.
                     14
                                   By UNITED STATES MAIL (I am readily familiar with the firm’s
                     15            practice of collection and processing correspondence for mailing. Under
                                   that practice it would be deposited with U.S. Postal Service on that same
                     16            day with postage thereon fully prepaid at Los Angeles, California in the
                                   ordinary course of business. I am aware that on motion of the party served,
                     17            service is presumed invalid if postal cancellation date or postage meter date
                                   is more than one day after date of deposit for mailing in affidavit.)
                     18
                                   By OVERNIGHT DELIVERY (by causing such envelope to be delivered
                     19            to the office of the addressee by overnight delivery via Federal Express or
                                   by other similar overnight delivery service.)
                     20            By FAX TRANSMISSION
                     21            By E-MAIL OR ELECTRONIC TRANSMISSION
                     22            (State) I declare under penalty of perjury under the laws of the State of
                                   California that the above is true and correct.
                     23
                             X     (Federal) I declare that I am employed in the office of a member of the bar
                     24            of this court at whose direction the service was made.
                                   Executed on May 18, 2022, at Los Angeles, California.
                     25

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                     27           DAVID A. BELCHER                              /s/ David A. Belcher
                          Name                                         Signature
                     28
  FAEGRE DRINKER
BIDDLE & REATH LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                                  STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE OF KEVAN SCHWITZER
                          US.350157312.01
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                      1                                        SERVICE LIST
                      2                     John Roe 1, et al. v. The State Bar of California, et al.
                                                  Case Number 8:22-cv-00983-DOC-DFM
                      3

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                     10   litigation.docketing@klgates.com, lianne.jitodai@klgates.com
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